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U'NITED S'I‘ATES OF AMERICA ,
Plaintiff,
vs. CR. NO. 04-20383-Ma

CLARENCE S . DAVIS ,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on. July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iV) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

q,Q.-¢L

IT IS SO ORDERED this day of August, 2005.

445/m

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JU'DGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-203 83 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

